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 4

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     GARRY SAMPSON
 6

 7                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,           )               CASE NO. 1:16-cr-00176-DAD-BAM &
10                                       )               CASE NO. 1:12-cr-00028-DAD-BAM
                       Plaintiff,        )
11                                       )               STIPULATION AND ORDER
                                         )               TO CONTINUE STATUS
12   vs.                                 )               CONFERENCE ON SENTENCING
                                         )               HEARING
13                                       )
     GARRY SAMPSON,                      )
14                                       )               Date: December 9, 2019
                                         )               Time: 10:00 AM
15                     Defendant.        )               Judge: Hon. Dale A. Drozd
     ____________________________________)
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17

18          IT IS HEREBY STIPULATED by and between the Defendant GARRY SAMPSON, his

19   attorney of record, CAROL MOSES and Assistant United States Attorney KIMBERLY A.

20   SANCHEZ, that the status conference regarding the sentencing in the above-captioned matter
21   now set for December 9, 2019 at 10:00 AM, be continued to June 15, 2020 at 10:00 AM for a

22   further status conference on the on the issue of sentencing Mr. Sampson.

23          Mr. Sampson entered a plea of guilty on August 1, 2018 and was subsequently ordered

24   released from custody and transported to The Delancey Street Foundation in San Francisco,

25   California for a determination on Mr. Sampson’s suitability for The Delancey Street Program.

26   Attached is a letter from the program showing that Mr. Sampson remains at the program and is in
27   full compliance.

28          The government has no objection to the proposed continuance. Accordingly, the parties


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 1   are requesting a continuance of the status conference to June 15, 2020 to monitor Mr. Sampson’s

 2   progress at the program, and to set another status conference for sentencing consideration.

 3          Mr. Sampson previously pleaded guilty, thus no exclusion of time is necessary.

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 5                                                        Respectfully Submitted,

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 7   Dated: December 2, 2019                              /s/ Carol Ann Moses
                                                          CAROL ANN MOSES
 8                                                        Attorney for Defendant,
                                                          GARRY SAMPSON
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10
     Dated: December 2, 2019                              /s/ Kimberly A. Sanchez
11                                                        KIMBERLY A. SANCHEZ
                                                          Assistant United States Attorney
12
                                                          Attorney for the United States
13

14                                                 ORDER

15          GOOD CAUSE APPEARING, the above stipulation is accepted and adopted as the order

16   of this Court in Case No. 1:16-cr-00176-DAD-BAM and in Case No. 1:12-cr-00028-DAD-BAM.
     The status conference as to Defendant GARRY SAMPSON currently scheduled for December 9,
17
     2019, at 10:00 AM is hereby continued to June 15, 2020 at 10:00 AM in Courtroom 5 before
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     United States District Judge Dale A. Drozd.
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20   IT IS SO ORDERED.

21      Dated:     December 2, 2019
                                                       UNITED STATES DISTRICT JUDGE
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